                        ON PETITION FOR REHEARING
We find in the petition for rehearing three propositions not discussed in our original opinion. Said propositions and our answers thereto follow:
First — That the answer in case No. 66620, filed in the district court, was not verified as required by law.
1. The plaintiffs in that case were the only parties in a position to object, and they not only failed to object but waived the verification. *Page 54 
Second — Petitioners complain that the return to the order to show cause issued out of this court was not in proper form, in that it was not signed by the judge of the court to whom it was directed, and, further, that it was not verified.
2. We think that a complete answer to this point is that a return need not be a formal pleading in the nature of an answer. State v. Streshley, 46 Nev. 199, 209 P. 712.
Third — Petitioners assert that the new insurance statute (Stats. 1941, c. 189, p. 451 et seq.) deprived the district court of jurisdiction in this matter.
3. This statute is not retroactive and does not affect cases commenced prior to its passage. Virden v. Smith, 46 Nev. 208,210 P. 129. Further, section 157 of said act makes such an express exemption; it reads: "No action or proceeding commenced before this act takes effect and no right accrued is affected by the provisions of this act, but all procedure thereafter taken therein shall conform to the provisions of this act so far as possible."
As to the other matters presented in the petition, we are satisfied with what we said in relation thereto in the former opinion.
The petition for rehearing is denied.
TABER, J., I concur.
DUCKER, C.J., I dissent. *Page 55 